  Case 5:19-cv-02311-JWH-ADS Document 13 Filed 06/03/20 Page 1 of 28 Page ID #:153


                 Aaron Alan Falls
  FliLL N.4'~fE
                 Same                                                                         CLERK, U.S. DISTRICT COURT
  COtifbIITCED N.4~ti1E liC differe¢tj
                 CSP Solano Level III
  Fti1L.4DDRE55 L\C~L~DLtiG N~tifE OF INSIT:LTION
                                                                                                      JUN — 32020
  Fac. A/Bldg 6 125 Low
  PO Box 4000 2100 Peabody Rd                                                                 G~RAL DISTRICT OF CALIFORNIA

  Vacavile Ca. 95696
 PRISON Nli.LfBL-R(fapplicable)




                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                     cASE r2~ER
                                                                                     5:19-cv-02311-JLS-ADS
                                                                                            Tv be supplied by the Clcu~k
             AARON ALALV FALLS
                                                        PLAINTIFF,
                                         ~7,                                        ~7~1..V1~IL H1~LC1~Ll.L

                                                                            CIVIL RIGHTS C04ZPLAiNT
                                                                                PURSti:~'VT TO ~che~x o~te~
            County of RIVERSIDE
                                                    DEFENDANT(S). ~ 42 U.S.C. § 1983
            ET, AL.,                                              ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971

A. PREVIOUS LAWSUITS

      1. Have you broubht any other lawsuits in a federal court while a prisoner: ❑Yes X~io

     2. If your answer to "1." is yes, how many?

            Describe tl~e lawsuit in the space below. (lf there is more than one lawsuit, describe the additional lawsuits on an
            attached piece of paper using tl~e same outline.)




                                                        CI~TL RIGHTS COMPLAINT
CV-66 (7;97)                                                                                                               Page 1 of 6
  Case 5:19-cv-02311-JWH-ADS Document 13 Filed 06/03/20 Page 2 of 28 Page ID #:154

          a. Parties to this previous lawsuit:
             Plain~ifi
               AARON A. FALLS #BH6927

               Defendants
               Countv of Riverside,~T, AL DefendantG thrL 9A
          b. Court


          c. Docket or case number
          d. Name ofjudge to whom case was assibed
          e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?)
         f. Issues raised:




         g. Approximate date of filing lawsuit:
         h. Approximate date of disposition


B. EXHAUSTION OF AD'~LINISTRATiVE RE1~tEDIES

     1. Is there a ~ievance procedure available at the institution where the events relating to your current complaint
        occurred? ~ Yes ❑ No

    2. Have you filed a grievance conceniing the facts relating to your current complaint?                   Yes      ❑ No

         If your answer is no, explain why not            N/A SEE COMPLAINT




    3. Is tl~e grievance procedure completed? ~] Yes             ❑ No

         If your answer is no, explain why not



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff            Aaron Alan Falls
                                                                                            (print plaintiffs name)

    who presently resides at       CSP Solano, PO Box 4000, Vacaville, Ca. 95696
                                                               (mailing address or place of confinement)                            '

    were violated by the actions of the defendants)named below, which actions were directed against plaintiff at
          Dep. E. Vernal, Dep. Perez, Dep.Barrows, Dep. Lundy —Riverside Cty
                                                 (mstitut~on,ary where v~olauon occurred)

          John & Jane Does, Riverside County Medical Cntr.,4000 Orange St.
                                  CIVIL RIGHTS CObiPLAI\T 1 vesi e a.
CV-66 (7~~71                                                                                                                 Page 2 of6
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      on (date or dates)      October 4th                 2,018       OCt. 4th 2018,                   Oct. 12th 2018
                                      (C aim Ij                        (G atm R                       (Claim LII)

      NOTE:        You need not mine more than one defendant or allege more than one claim. If you are naming more than
                   five (5) defendants, make a copy of this page to provide the information for additional defendants.
                              Tl~vw ~-v ~,~ v~aw.Qd J v~-,~ ~ J a~~ ~ll~
      1. Defendant p                                                                                        resides or works at
                       (    name of ~rst e en ant


                      (full address of first defendant)


                      (defendant's posirion and title, if any)


           The defendant is sued in hisiher (Check one or both):            individual   ❑official capacity.

           Explain how this defendant was acting under color oflaw:




     2. Defendant Please attached pages named Defendants                                                   resides or works at
                      (full name of ttrst de endanc)


                      (full address of first defendant)


                      (defendant's position and rifle, it any)


           The defendant is sued in hisiher (Check onz or both):~iildividual             ❑official capacity.

           Explain ho~v this defendant was acting under color of law:




     3. Defendant Please see attached pages named Defendants                                               resides or works at
                      (ful name of first de endant}


                      (full address of first defndantj


                      (defendant's posirion an titla, ii'any)


           The defendant is sued in his/her (Check one or both}: D individual            ❑official capacity.

           Explain tow this defendant was acting under color of law:




                                                           CI~"IL RIGHTS C01tPLAItiT
CV-66 (?,''97)                                                                                                             Page 3 of 6
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                       Please see attached pages named Defendants
    ~. Defendant                                                                                     resides or works at
                   (ru 1 name of first defen any)


                   (full address of first defendant)


                   (deten ant's posuion an tit e, rt anyj


        T`he defendant is sued in his/her(Check one or both): ❑individual         ❑official capacit}r.

        Explain how this defendant was acting under color of law:




   5. Defendant                  Please see attached pages named Defendan~,~des or works at
                   (full name offu~t defendant)


                   (full address of first defendant]


                   (defendants position and tide, if any)


       The defendant is sued in hisl~er (Check one ar both): ❑individual          ❑official capacity.

       Explain how this defendant was actinb under color of law:




                                                       cnzL R~cxTs co~rr.,~r.~T
CV-66(797)                                                                                                          Ps~e 4 of 5
  Case 5:19-cv-02311-JWH-ADS Document 13 Filed 06/03/20 Page 5 of 28 Page ID #:157


D. CLAL~~LS*
                                                                 CLAI1.1 I
     The following civil right has been violated:
               Please see attached paces named CLAIMS

    ~F-ev►~a,n~             ~I ' ~c~P        PeRF2~ 1'~l~kn ~vn~~id                    '1~~. 'Qnc~c~'~Tr~~\~1~~.~t~r~P                         ir,dl.~~.2.encf,

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    Supporting Facts: Include all facts you consider important. Stale the facts clearly, in year own words, and without
    citing 1e~a1 authority or argument. Be certain you describe, in separately numbered paragraphs, exactly «•hat each
    DEFE'dDANT (by name) did to violate your right.
               please see attached paces Named Causes to all actions




    *Ifthere i.s more than one claim, describe the additional claims) on another attached piece ofpaper using llte .same
    outline.


                                                         CIVIL RIGHTS CO~iPLAi\T
CV-66 (7;9'1                                                                                                                               Page ~ of 6
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E. REQUEST FOR RELIEF

     I believe that i am entitled to the following specific relief:
           Please see attached page named Requested relief.




                Date)                                      (Signature ofPlaint~




                                    CI~TL WGHTS CO'~il'LAI\T
CV-66 (7:'97)                                                                     Pae;6 of 6
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                             DEFEN~AN~'c


 1    Defendant I

 2    Defendant Deputy Perez resides in Riverside County and is

 3    employedas a Deputy to the Riveside County Sheriff, assigned to

 4    transportation as a driver.

 5    Defendant Perez is being sued in his individual Capacity

 6

 ~    October 4th, 2018, Acting under the color of law as a

 a    transportation driv, transporting inmates for the County of

 9    Riverside in an unsafe manner, driving in excess of the posted
to    speed limit while in high traffic commute conditions with
11    regard for the saetwell being of his passangers injuring
12    numerous inmates in a vehicular accident.
13

14

15    Defendant II:

i6    Defendant Deputy Barrows resides in Riverside County and is

1~    employed as a Deputy to the Riverside County Sheriff assigned to

18    transportation as a driver.

19    Deputy Barrows is being sued in his individual capacity
20

21    October 12th, 2018 acting under the color of law as a
22    transportation driver, transporting inmates for the County of
23
     Riverside, did operate a county transportation vehicle with
24
     deliberate indifference, and reckless disregard for the safety
25   and welfare of inmate passengers byignoring safe driving practice

26   in an area under heavy construction, recklessly driving into

2~   a stationary gate post injuring numerous inmates in a vehicular

28   accident.


                                       (I)
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                                      DEFENDANTS

 1   Defendant III

 2   County of Riverside and Associated entities

 3   Defendant/s are being sued in its official capacity.

 4

 5   T he Riverside County and associated entities, while acting under

 6   the color of law as Administrative body over the Riverside County

 7   S heriff's Department and its associated personnel failed in its

 8   d uty to:

 9   (1) Failed to provide the appropriate procedural safeguards and

10   r esponses to medical needs, injuries, or responses to those

11   injuries sustained on the dates of October 4th, 2018, and October

12   1 2th, 2018, by numerous passengers of busses operated by the

13   R iverside County Sheriff involved in 2 seperate accidents, October

14   4 , 2018, and October 12, 2018, as a matter of policy said

15   d efendants did delay medical response and treatment in a

16   c ontributory fashion exacerbating injuries while in county custody.

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                                        (II)
Case 5:19-cv-02311-JWH-ADS Document 13 Filed 06/03/20 Page 9 of 28 Page ID #:161

                                   DEFENDANTS

 i    Defendant~~ f~

 2    Defendant Riverside County Sheriff"s Department

 3    This Defendant is being sued in it's official
                                                    capacities.
 4

 5    The Riverside County Sheriff, while acting under the color of

 6    law in it's capacity as Correctional Agent in charge of;:

      (1 ) Housing

 s    (2) Medical

 9    (3) Transportation
io    (4) Health, Safety & Wellfare      of the inmate population while in
it    their custodyfailed through the dates of October 4th, 2018 and

12    October 30th, 2018 in it's duty to

13   (1 ) Transport inmate passangers without injury to court

14    proceedings. ( 10-4-18, 10-12-18)

15   (2) Provide undelayed, and adequate medical attention and

16    treatment after injuries sustained invehicular accidents due to

17    officers reckless disregard, and deliberate indiference to safety
is    while operating a county vehicle transporting inmate passangers.

19   (3) Did unnecessarily delay medical examination and treatment

20    of plaintiff after palintiff sustained numerous injuries incurred

21    during a vehicular accident as a result of reckless disregard,

zz    and deliberate indifferance to traffic laws, driving conditions,

23    and the safety and wellfare of inmate passangers in the custody

24    of the Sheriff's Department.

25   (4) Did unecessarily inflinct cruel and unusual punishment

26    on Plaintiff through the denial and delay of medical and dental
27    treatment through the refusal to extract a tooth broken at the
2s    root after exam and X-ray supported said extraction immediately.

                                        -~-~-?—~
                                        ~j
 Case 5:19-cv-02311-JWH-ADS Document 13 Filed 06/03/20 Page 10 of 28 Page ID #:162
                                        DEFENDANTS

     1    Causing unecessary pain and suffering through denial and delay
                                                                         of
     2    e xtraction of a dental injury sustained in a vehicular acciden
                                                                          t
 3        w hile in the custody of the Riverside County Sheriff's Departm
                                                                          ent.
 4       (S) Failed to provide adequate medical care while under
                                                                 confinement
 5        a nd in the custody of the Riverside County Sheriff by failing
                                                                         to
 6        a ddress pretrial detainee medical needs arising from injurie
                                                                        s
 7       suffered during an accident caused by the Riverside Sheriff.

 8       (6) Failed to provide appropriate procedural safeguards and

 9       r esponses to injuries sustained by inmates on the dates of
                                                                     October
10       4 th, 2018 thru October 12th, 2018 involved as passengers
                                                                   in
11       v ehicular accidents on both days shown.

12       (7) Deprived Plaintiff of his Fourteenth ammendment liberty

13       i nterest in freedom from bodily injury

14       (8) Riverside County Sheriff's Department Medical staff
                                                                 failed to
15       p rovide treatment for severe injuries after the findings
                                                                   in X-Rays
16       taken showed spinal damage, and injuries warranting special
                                                                     ized
17       e xaminations "ie" an MRI to ascertain the extent of injuries

18       sustained October 4, 2018 and October 12, 2018.

19       (9) Failed to provide appropriate policy and procedures to
                                                                    protect
20       the plaintif from procedural denial and delay of immediately
                                                                      needed
21       m edical treatment.

22

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                                         (IV)
 Case 5:19-cv-02311-JWH-ADS Document 13 Filed 06/03/20 Page 11 of 28 Page ID #:163
                         FACTS COMMON TO ALL CAUSES OF ACTION

     1   1: At all times mentioned herein, Aaron Alan Falls was a pre-trial

     2   detainee of the Riverside County Sheriff's Department.

 3

 4       2: Between the dates of October 4th, 2018, and October 30, 2018,

 5       and while in the custody and control of the Riverside County

 6       Sheriff's Department, Plaintiff was housed at the Cois Byrd

 ~       Correctional Facility in the County of Riverside.

 8

 g       3: The County of Riverside and the Riverside County Sheriff's

10       Department contract medical care providers in their facilities and

11       are the Gate Keepers by policy and procedure to all medical

12       requests and grievances.

13

14       4: At all times mentioned herein Lt. Alyssa Vernal, assigned as

15       Lt. of the Cois Byrd detention facility, floor and facility housing

16       Plaintiff Falls, and was assigned as floor operations and

17       transportation supervisor for the Green/Gold team, including

lg       oversight of transportation.

19

20       5: The transportation teams at the Riverside County Sheriff's

21       Dept., policy and procedure for transporting inmates to and from

22       court, and medical appointments, is and was at the time of incident

23       to handcuff detainees to the waist, in twos or threes individuals

24       while providing .seating adequate only for two individuals, and it's

25       routinely three chained together so as to maximize occupancy

26       regardless of available space on seats built for two, and that

27       these vehicles have NO form of safety restraint.

Zg           The Drivers and Lt's are well aware of the overcrowded seating

                                         (V)
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                        FACTS COMMON TO ALL CAUSES OF ACTION

 1    with some made to sit on the floor creates an elevated risk of harm

 2    to detainees and passengers.

 3

 4    6: On October 4th, 2018, at approximately 0600 hours during

 5    transportation of approximately 30 detainees en route to court,

 6    Driver Deputy Perez was driving on a downhill grade of Allessandro

 7    Blvd. in the city of Riverside, travelling in excess of the posted

 8    speed limit. Many detainees to include Falls had yelled several

 9    times requesting Deputy Perez to slow down as he was driving in

10    an unsafe manner. This request was expressly ignored by Deputy

11   Perez and two co-drivers. Moments later Deputy Perez struck two

12    vehicles from behind causing a crash that was attended by the City

13   of Riverside Police Department, the Riverside City Fire Department,

14   supervisory members of the Riverside County Sheriff's Department,

15   and AMR medical rescue ambulance service.

16

17   7: At no time was any detainee taken to the hospital by the Sheriff

18   or Rescue Services, even after numerous complaints of back, neck,

19   and dental injury.

20

21   8: October 4, 2018

22          Approaching the intersections of Allessandro and Chicago

23   Blvds., Deputy Perez driving in excess of the posted speed limit

24   and too fast for morning traffic conditions, slammed on the brakes

25   and collided with a Ford Excursion/Expedition Eddie Bauer series

26   SUV.

27

28   9: Plaintiff Falls was secured to two other detainees in a seat

                                         (VI)
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                       FACTS COMMON TO ALL CAUSES OF ACTION

 1   on the right (passenger) side of the vehicle in a bench seat

 2   approximately two thirds (2/3) back on the bus in the aisle seat

 3   immediately behind a box tube framed compartment seperator /

 4   sectional partition. Due to the waist chain restraints, and being

 5   secured to two other detainees at the waist, Falls was unable to

 6   stop himself or resist inertia force. Falls was slammed face first

 7   into the steel partition, injuring his right eye, head, neck, and

 8   back, breaking a front tooth off and hanging by the root causing

 9   severe, and excruciating pain. Approximately 7 to 10 other

10   detainees suffered reportable injuries as well. At NO TIME was any

11   detainee examined at the scene for injuries.

12

13   10: Riverside Fire, City Police, EMT Services, and the Sheriff's

14   Department arrived and took the driver of the Ford and another

15   vehicle to the hospital for emergency care for the injuries they

16   suffered; meanwhile, Riverside City Police arrived on scene to

17   investigate the scene of the accident, taking the names and booking

18   numbers of bus passengers injured and not, again at no time was

19   emergency services provided to anyone on the bus, even after many

20   and numerous requests by Falls.

21

22   11: Upon arriving at the Robert Pressley Detention Center / Hall

23   of Justice, a Nurse Practitioner took a minimalist interview where

24   injuries were noted. Plaintiff informed unknown nurse of eye

25   injury, back and neck injuries, and dental injuries of which

26   Plaintiff was in excruciating pain. Approximately two hours later,

27   Plaintiff was escorted to a Dental Facility within RPDC. An X-Ray

28   of dental injury was taken, noted, with a recommendation of

                                        (VII)
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                        FACTS COMMON TO ALL CAUSES OF ACTION

 1    immediate extraction. The Dentist on duty asked how the tooth was

 2    broken, and when told Plaintiff was in a vehicle accident while

 3    aboard county transportation, the Dentist refused to do the

 4    extraction, with no further care or treatment to dental injuries

 5   for approximately 5 to 6 days.

 6

 7   12: Plaintiff Falls was representing himself pro se in case #

 g   RIF1607225, and later informed the Court of the October 4th, 2018,

 g   accident, and its potential impact that the sustained injuries may

10   have on his litigating his court actions due to cranial, eye, back,

11   and dental injuries.

12

13   13: Plaintiff Falls filed an inmate grievance form dated 10/4/2018

14   — 10/5/2018, which was received by Medical Staff who by practice

15   and procedure delay medical attention of all varieties.

16         This grievance was received by a Deputy Sgt. Fergusson ID#

17   4412. The grievance pertained to the accident and the fact that

18   Plaintiff was told by Nursing Staff who later stated Falls had

19   refused when Falls had not. It was later confirmed that housing

20   deputies were interfering with Falls' medical care. Sgt. Conn ID#

21   3196 was the superviser and reviewer of that grievance complaint

22   which was not reviewed until October 11, 2018. Sgt. Conn's written

23   response to this was "Duplicate Grievance original dated 10/6/18

24   @ 0842," but the grievance was dated October 5, 2018. It was very

25   apparent from the day of the accident that the Sheriff's

26   Department, and senior staff were doing what they could to deny

27   and delay medical exam and treatment on purpose.




                                        (VIII)
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                        FACTS COMMON TO ALL CAUSES OF ACTION

 1    14: Plaintiff Falls files another grievance dated 10/5/18 and

 2    r eceived 10/6/18 by Sgt. McClellan ID# 3446, alleging "Staff

 3   (Deputies and Medical) have ignored Falls attempts to get medical

 4    attention, numerous medical requests had been put in and ignored

 5    w ithout regard to health issues and injuries sustained in October

 6    4th, 2018, accident; Note: Falls has still not seen an MD. or Nurse

 7    p ractitioner since initial interview at RPDC two days earlier."

 8    S gt. Conn ID# 3196 doesn't respond til 10-11-18.

 9

10    15: Plaintiff Falls filed another grievance dated 10/7/18 which

11    c ontains an attached declaration from other detainees involved in

12    t he Otober 4th, 2018 incident:

13         A lfred Cisneros # 201743467; Jacob A. Martinez # 201835275;

14   along with Falls' declaration as attachment alleging bus accident,

15   injuries and failure to provide medical care. Sgt. Conn ID# 3196

16   r esponds to this grievance on 10/11/18 as well with Sgt. Ferguson

17   I D# 4417 being the initial reviewer of grievance on 10/8/18.

18

19   16: At no time did any of these Sergeants; Ferguson, McClellan,

20   o r Supervising Sgt. Conn properly respond to grievances submitted.

21   A ll were delayed by the Sergeants acting as gate keepers to prevent

22   the October 4th, 2018, accident from being exposed, and accepting

23   liability, thus interfering with medical care. The Supervisor

24   (Sgts) responses to all filed grievances state the exact same

25   thing: "see medical response" without further comment or action.

26

27   1 7: On October 10, 2018, Falls filed another grievance form,

28   informing supervisory staff that he had informed Judge Koosed

                                         (IX)
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                       FACTS COMMON TO ALL CAUSES OF ACTION

 1    Deptartment 51 of the Riverside County court of the Sheriff's

 2    failure to provide medical care after suffering severe injuries

 3    and requested of the Sheriff's Department to inform medical to

 4    provide care for back injuries, eye, injuries those being an MRI

 5    for back and neck, and an optometry visit for eye injuries, which

 6    to present day cause blurry vision, migraine headaches, extreme

 ~    psiatic pain resulting in progressively worsening circulatory

 8    issues to the extremities resulting in loss of strength, and

 g    feeling in hands and feet.

10         This particular grievance does not have a received by name

11    or ID# as is proper to form and procedure. Supervising Sgt. Conn

12    ID# 3196 received the grievance and screened it 10/15/18 @ 0930

13    hours with the usual findings of "see medical response".

14

15   18: Based on the fact that Falls had informed Superior court

16   ,judge Koosed of the Sheriff'sinterference with medical and

17   failure to provide medical treatment during the Oct. 19th 2018

18   court proceedings Judge Koosed issued a court order to

19   investigate matters further.

20

21   19: On Oct. 10th 2018 Falls was interviewed by Dr. Maria Cudal,

22   M.D. jail Physician at the Cois Byrd Detention Cntr. Even after

23   this interview with Dr. Cudal, at which time Falls informed her

24   of the severity of the injuries suffered from the blunt force

25   trauma to his skull, which was now causing blurred vision,

26   migraine headaches, neck, back, shoulder, and spinal pain,

27   along with and aside the excruciating pain from a yet untended

28   tooth broken at the ~~~~,a~d~gum~ne, all Dr. cudal did was
                                         (X)
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                             FACTS COMMOr TO ALL CAUSES


  ~    was to promise tylenol.

  2          Defendants Sheriff and medical staff made the first

  3    arrangements on October 11th, 2018, seven (7) days after the

  4    Sheriff Department transportation departrments Oct. 4th 2018
  5    vehicle accident      At this time Dr. Maria Cudal, MD

 6     informed Falls that he would be "REFERRED"to the hospital for a

 7     CT scan, and an Opthamology visit duringthis interview. Falls'

 8     also requested a back brace so as to give some kind of basic

 9     lower back supportfor his back and spinal injuries to the lower

 10    lumbar area of his back due to his restricted mobility, sciatic

 11    nerve damage, neck and shoulder pain.

 12

 13    20:   Falls filed a greivance to the Deputy Sheriffs in regards

 14    to the medical care interview. Again, this grievance did not have

 15    a "RECEIVED BY":employee name andTID numberaccepting

 16    responsibilty of receiving this document. SGt. Conn ID# 3196

 17    response date 10-22-2018, with the same supervisory findings of

 18    "See medical response". Falls requested a Lumbar support brace

 1g    yet medical provided him with a Hernia support which does nothing

 20    for back and spinal injuries.

 21

 22    21: On Oct.11th, 2018 Lt. Alyssa Vernal interviewd Falls at

 23    approximately 1700hrs in regards to the October 4th 2018 acident.

 24    Lt. Vernalinitially starts this interview by asking details of

 25    the accident to which Falls described. Lt. Vernal asked specics

 26    and was given Falls report finishing with the accounting of the

 27    Riverside city police. taking statements from detainees abord the

 28    bus, to include names and

                                   (XI)
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                                     same year, putting this- claim as it is believed, to be a fo
                                  rteenth amedmant claim.
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AARON A.FALLS #BH6927

PO BOX 4000, A-6 125 L

VACAVILLE CA. 95696




   -•   '~ '~                ~ ~'     UNITED STATES DISTRICT COURT
                                             CENTRkL DIVISION
                                                                 COURT
                             EDWARD R. ROYBAL FEDERAL BLDG. & US

                                    255EAST TEMPLE STREET

                                    LOS ANGELES CA. 90012


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